               Case 6:20-bk-03799-KSJ         Doc 196     Filed 11/25/20      Page 1 of 25




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

In re:

UNIVERSAL TOWERS CONSTRUCTION,                           CASE NO. 6:20-bk-03799-KSJ
INC.,                                                    Chapter 11

          Debtor.                                        Hearing set for December 1, 2020 at 9:30
                                                         a.m. by CourtCall and Zoom
______________________________________/

    DEBTOR’S EXPEDITED APPLICATION TO EMPLOY FISHER AUCTION
 COMPANY AS AUCTIONEER AND CO-REAL ESTATE BROKER TO THE DEBTOR

          Debtor, Universal Towers Construction, Inc., as debtor and debtor-in-possession

(“Debtor”), by and through its undersigned counsel, respectfully submits this expedited

application seeking an order pursuant to 11 U.S.C. §§ 327 and 330 and Rule 2014 of the Fed. R.

Bankr. P., authorizing the employment of Fisher Auction Company (“Fisher”) as the Debtor’s

auctioneer and as co-broker to auction and sell the Debtor’s interest in the hotel real and personal

property located at 7800 Universal Blvd., Orlando, FL 32819 (the “Hotel”). This Application is

based upon the Listing Agreement, a copy of which is attached hereto as Exhibit A (the “Listing

Agreement”), and the Declaration of Lamar Fisher, attached hereto as Exhibit B (the

“Declaration”). In support of this Application, Debtor respectfully shows the Court the following:

          1.      On July 3, 2020 (the “Petition Date”), the Debtor filed a voluntary petition for relief

under Chapter 11 of Title 11 of the United States Code (“Bankruptcy Code”).

          2.      The Debtor remains in possession of its property and continues to manage its

property as debtor and debtor-in-possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.

          3.      No trustee or examiner has been appointed in the Debtor’s Chapter 11 case, and no

committees have been appointed or designated.




44574191 v1
                Case 6:20-bk-03799-KSJ        Doc 196     Filed 11/25/20    Page 2 of 25




          4.       The Court has jurisdiction over this matter pursuant to 28. U.S.C. §§ 157 and 1334.

Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to

28 U.S.C. § 157(b)(2). The statutory predicates for the relief sought by the Debtor in this

Application are 11 U.S.C. §§ 327 and 330 and Rule 2014 of the Fed. R. Bankr. P.

          5.       The Debtor wishes to employ Fisher as its auction company and co-broker for the

Hotel.

          6.       Fisher has agreed to be compensated by a sale commission to be paid out of a three

percent (3%) buyer’s premium that will be calculated on and added to the final gross purchase

price. The buyer’s premium will be divided as follows: (i) if there is a broker representing the

buyer, then Fisher and such broker shall split the buyer’s premium 1.5%/1.5%; if there is no broker

representing the buyer, then Fisher shall be entitled to the entire buyer’s premium as its earned real

estate commission. Additionally, in the event Debtor chooses not to proceed with the live auction

of the Hotel, Fisher shall be entitled to a $75,000 “no sale fee.”

          7.       Fisher has agreed to be compensated in accordance with the provisions set forth in

11 U.S.C. § 330 and will apply to the Court for allowance of compensation and reimbursement of

expenses in accordance with applicable provisions of the Bankruptcy Code, the Federal Rules of

Bankruptcy Procedure, the Local Bankruptcy Rules and Orders of this Court. Compensation will

be payable to Fisher subject to Order of this Court, as set forth in the Agency Agreement and in

the Declaration of Lamar Fisher.

          8.       To the best of the Debtor’s knowledge, Fisher has no connection with any of the

creditors or any other parties in interest.

          9.       Fisher has no pre-petition claim against the Debtor.

          10.      To the best of Debtor’s knowledge, as disclosed in the Declaration and this




44574191 v1                                         2
                Case 6:20-bk-03799-KSJ         Doc 196      Filed 11/25/20      Page 3 of 25




Application (i) Fisher is a “disinterested person” as that phrase is defined in 11 U.S.C. § 101(14),

and (ii) Fisher has no interest adverse to the Debtor or to the estate of the Debtor on the matters in

which the firm is to be engaged.

          11.      The Debtor believes that the retention of Fisher is in the best interest of the Debtor’s

estate and its creditors. The Debtor and its professionals have determined that an auction sale is

the best method to obtain the highest and best value for the Hotel in an efficient and timely manner.

          12.      No prior application has been made for the relief requested herein to this or any

other Court.

                                 EXPEDITED RELIEF REQUESTED

          13.      Debtor moves the Court for expedited consideration of the relief requested herein

at a hearing set before the Court on Tuesday, December 1, 2020, at 9:30 a.m. Time is of the

essence with respect to the sale of the Hotel. The Debtor has operated, and continues to operate

on a cash-flow negative basis and currently has limited funds to use to support Hotel operations

through the closing of a sale. The Debtor anticipates that its sale process may require 90-120 days

from the start of the marketing process to closing of a sale after auction. Accordingly, the Debtor

believes it is important to commence the marketing and sale process as soon as possible.

          WHEREFORE, the Debtor respectfully requests the Court to enter an order authorizing the

Debtor to retain Fisher Auction Company as its auction company and co-broker with respect to

the sale of the Hotel property located at 7800 Universal Blvd., Orlando, FL 32819, and granting

such other and further relief as is just and proper.

          Respectfully submitted this 25th day of November, 2020.


                                                  /s/ Lis Oliveira-Sommerville
                                                  Lis Oliveira-Sommerville
                                                  President of Universal Towers Construction, Inc.



44574191 v1                                           3
              Case 6:20-bk-03799-KSJ    Doc 196     Filed 11/25/20    Page 4 of 25




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 25, 2020, I caused the foregoing to be served on
all parties receiving notification using the Court’s CM/ECF system and via U.S. Mail, postage
prepaid to United States Trustee, George C. Young Federal Building, 400 West Washington Street,
Suite 1100, Orlando, FL 32801, and all parties on the attached Local Rule 1007-2 Parties in
Interest Matrix.

                                           /s/ Christopher R. Thompson
                                           Eric S. Golden
                                           Florida Bar No. 146846
                                           Email: egolden@burr.com
                                           Christopher R. Thompson
                                           Florida Bar No. 0093102
                                           Email: crthompson@burr.com
                                           BURR & FORMAN LLP
                                           200 South Orange Avenue, Suite 800
                                           Orlando, Florida 32801
                                           Phone: (407) 540-6600
                                           Fax: (407) 540-6601
                                           Attorneys for Debtor




44574191 v1                                   4
                             Case 6:20-bk-03799-KSJ         Doc 196        Filed 11/25/20    Page 5 of 25
Label Matrix for local noticing                Aimbridge Hospitality                          Amadeus Hospitality Americas I
113A-6                                         5851 Legacy Circle #400                        29618 Network Place
Case 6:20-bk-03799-KSJ                         Plano, TX 75024-5979                           Chicago, IL 60673-1296
Middle District of Florida
Orlando
Tue Nov 24 09:49:33 EST 2020
Bank of America, N.A.                          Constrazza International Construction          Constrazza International Construction, I
c/o Liebler, Gonzalez & Portuondo              c/o Keith T. Grumer                            100 N.E. 3rd Ave, Ste 280
44 West Flagler Street, Suite 2500             KATZ BARROn                                    Fort Lauderdale, FL 33301-1165
Miami, Florida 33130-6808                      100 N.E. Third Ave., #280
                                               Fort Lauderdale, FL 33301-1165

Daytona Hospitality Management                 Dormakaba USA Inc.                             Eckert Seamans Cherin Mellott
3135 1st Avenue N, Unit 10778                  P. O. Box 896542                               P. O. Box 643187
Saint Petersburg, FL 33733-9233                Charlotte, NC 28289-6542                       Pittsburgh, PA 15264-3187



Ecolab, Inc.                                   Florida Department of Revenue                  G & R Plumbing Enterprises Inc
P. O. Box 100512                               5050 W. Tennessee Street                       2545 S Nashville Ave
Pasadena, CA 91189-0512                        Tallahassee, FL 32399-0120                     Orlando, FL 32805-5255



Holiday Hospitality Franchising, Inc.          M7 Services LLC                                M7 Services LLC
ATTN: Vice President                           19747 Highway 59 N #340                        654 N SH Pkwy E, Ste 110
Franchise Administration & Licensing           Humble, TX 77338-3536                          Houston, TX 77060-5903
Three Ravinia Dr, Ste 2900
Atlanta, GA 30346-2143

Massey Services Inc.                           Ocean Bank                                     Ocean Bank
P. O. Box 547668                               780 NW 42nd Ave Ste 400                        c/o Gregory S. Grossman, Esq.
Orlando, FL 32854-7668                         Miami, FL 33126-5542                           1111 Brickell Ave. Ste 1250
                                                                                              Miami, FL 33131-3123


Ocean Bank                                     Onpeak                                         Orange County Comptroller
c/o Daniel M Coyle, Esq                        8313 Collection Center Dr                      Tourist Development Tax
1111 Brickell Avenue, Suite 1250               Chicago, IL 60693-0083                         P. O. Box 4958
Miami, FL 33131-3123                                                                          Orlando, FL 32802-4958


Phil Diamond, CPA, as Orange County Comptrol   Proscape                                       RD Pool Maint Inc
c/o Michael A. Paasch, Esq.                    285 E Oak Ridge Rd                             2353 N Stewart St
Mateer & Harbert, P.A.                         Orlando, FL 32809-4140                         Kissimmee, FL 34746-3046
P O Box 2854
Orlando FL 32802-2854

Royal Cup Inc.                                 Scott Randolph, Orange County Tax Collector    Sheraton Lake Buena Vista
P. O. Box 841000                               c/o Michael A. Paasch, Esq.                    12205 Apopka-Vineland Rd
Dallas, TX 75284-1000                          Mateer & Harbert, P.A.                         Orlando, FL 32836-6804
                                               P O Box 2854
                                               Orlando FL 32802-2854

Southern Aluminum                              Summit Broadband                               Sunbrite Outdoor Furniture Inc.
P. O. Box 884                                  P. O. Box 10822                                610 Irene Street
Magnolia, AR 71754-0884                        Naples, FL 34101-0822                          Orlando, FL 32805-1050
                             Case 6:20-bk-03799-KSJ               Doc 196        Filed 11/25/20        Page 6 of 25
System Tech Services Inc                             Team Travel Source                                   Visit Orlando
851 Central Park Dr                                  12910 Shelbyville Road Ste 215                       6277 Sea Harbor Dr, Ste 400
Sanford, FL 32771-6602                               Louisville, KY 40243-1594                            Orlando, FL 32821-8043



Waste Connect                                        Waste Connections of Florida
1099 Miller Drive                                    Orlando Hauling
Altamonte Springs, FL 32701-2069                     1099 Miller Drive
                                                     Altamonte Springs, FL 32701-2069




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Gamza, S.A.                                       (u)Joao Arcanjo Ribeiro                              (d)Summit Broadband Inc.
Av. Isaac Povoas, 586 - Sala 04                      Av. Isaac Povoas, 586 - Sala 04                      P. O. Box 10822
Cuiaba - Mato Grosso - MT                            Cuiaba - Mato Grosso - MT                            Naples, FL 34101-0822
BR 78.005-340                                        BR 78.005-340


(u)Universal Towers Investimentos, Ltda              End of Label Matrix
Av. Isaac Povoas, 586 - Sala 04                      Mailable recipients    34
Cuiaba - Mato Grosso - MT                            Bypassed recipients     4
BR 78.005-340                                        Total                  38
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 7 of 25




      Exhibit A
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 8 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 9 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 10 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 11 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 12 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 13 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 14 of 25




       Exhibit B
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 15 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 16 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 17 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 18 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 19 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 20 of 25
                Case 6:20-bk-03799-KSJ         Doc 196   Filed 11/25/20   Page 21 of 25

Ron DeSantis, Governor                                                     Halsey Beshears, Secretary




                 STATE OF FLORIDA
DEPARTMENT OF BUSINESS AND PROFESSIONAL REGULATION

                                DIVISION OF REAL ESTATE
             THE CORPORATION HEREIN HAS REGISTERED UNDER THE
               PROVISIONS OF CHAPTER 475, FLORIDA STATUTES




                             FISHER AUCTION CO INC
                                   FISHER AUCTION COMPANY
                                    2112 EAST ATLANTIC BLVD
                                  POMPANO BEACH       FL 33062



                                  LICENSE NUMBER: CQ1020546
                               EXPIRATION DATE: MARCH 31, 2022
                         Always verify licenses online at MyFloridaLicense.com



                                 Do not alter this document in any form.

 This is your license. It is unlawful for anyone other than the licensee to use this document.
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 22 of 25
     ACORD                     Case 6:20-bk-03799-KSJOFDoc 196 Filed 11/25/20 Page 23 of 25                                                                         DATE (MM/DD/YYYY)
                      TM
                                 CERTIFICATE            LIABILITY     INSURANCE                                                                                      01/07/2011
                                                                                                                                                                    11/13/2020
  THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
  CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
  BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
  REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
  IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must be endorsed. If SUBROGATION IS WAIVED, subject to
  the terms and conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to the
  certificate holder in lieu of such endorsement(s).
PRODUCER                                                                                    CONTACT
                                                                                            NAME:        Larry Harb
IT Risk Managers, Inc.                                                                      PHONE                                                     FAX
                                                                                            (A/C, No, Ext): 517-381-9909                              (A/C, No):
                                                                                            E-MAIL
4225 Okemos Rd. Suite B                                                                     ADDRESS: AIP@ITRiskmanagers.com
                                                                                            PRODUCER
                                                                                            CUSTOMER ID #:
Okemos, MI 48864                                                                                               INSURER(S) AFFORDING COVERAGE                                  NAIC #
INSURED                                                                                     INSURER A :
Fisher Auction Co., Inc.                                                                    INSURER B :   Continental Casualty Company
2112 E. Atlantic Blvd.                                                                      INSURER C :   Beazley Insurance Company
                                                                                            INSURER D :   Westchester ACE Fire Underwriters Insurance Co
Pompano, FL 33062
                                                                                            INSURER E :

                                                                                            INSURER F :
COVERAGES                                   CERTIFICATE NUMBER: Blank                                                              REVISION NUMBER:
  THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
  INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
  CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
  EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                             ADDL SUBR                                           POLICY EFF   POLICY EXP
 LTR             TYPE OF INSURANCE               INSR WVD               POLICY NUMBER               (MM/DD/YYYY) (MM/DD/YYYY)                              LIMITS
       GENERAL LIABILITY                                                           104816053 10/01/2010 10/01/2011                  EACH OCCURRENCE                $
                                                                                                                                    DAMAGE TO RENTED
           COMMERCIAL GENERAL LIABILITY                                                                                             PREMISES (Ea occurrence)       $

               CLAIMS-MADE         OCCUR                                                                                            MED EXP (Any one person)       $
 A                                                                                                                                  PERSONAL & ADV INJURY          $

                                                                                                                                    GENERAL AGGREGATE              $

       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                           PRODUCTS - COMP/OP AGG         $
                      PRO-                                                                                                                                         $
           POLICY     JECT          LOC
       AUTOMOBILE LIABILITY                                                                                                         COMBINED SINGLE LIMIT
                                                                                                                                                                   $
                                                                                                                                    (Ea accident)
           ANY AUTO
                                                                                                                                    BODILY INJURY (Per person)     $
           ALL OWNED AUTOS
                                                                                                                                    BODILY INJURY (Per accident) $
           SCHEDULED AUTOS
                                                                                                                                    PROPERTY DAMAGE
                                                                                                                                                                   $
           HIRED AUTOS                                                                                                              (Per accident)

           NON-OWNED AUTOS                                                                                                                                         $

                                                                                                                                                                   $

           UMBRELLA LIAB           OCCUR                                                                                            EACH OCCURRENCE                $
           EXCESS LIAB             CLAIMS-MADE                                                                                      AGGREGATE                      $

           DEDUCTIBLE                                                                                                                                              $

             RETENTION $                                                                                                                                           $
       WORKERS COMPENSATION                                                                                                              WC STATU-        OTH-
       AND EMPLOYERS' LIABILITY                                                                                                         TORY LIMITS        ER
                                        Y/N
       ANY PROPRIETOR/PARTNER/EXECUTIVE                                                                                             E.L. EACH ACCIDENT             $
       OFFICER/MEMBER EXCLUDED?                   N/A
       (Mandatory in NH)                                                                                                            E.L. DISEASE - EA EMPLOYEE $
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                                              E.L. DISEASE - POLICY LIMIT    $


 B     EPack Extra Crime Policy                                596612441                            09/01/2020 09/01/2021 $1,800,000
DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (Attach ACORD 101, Additional Remarks Schedule, if more space is required)

C: Databse policy number V1D5DC190401 Effective Dates 12/5/2019 to 12/5/2020                       $1,000,000 Aggregate
 D: Misc. Professional Liability Policy number EONFLF151965432 Effective Dates 12/5/2019 to 12/5/2020                         $1,000,000 ea.claim/ $1,000,000 Aggregate

CERTIFICATE HOLDER                                                                          CANCELLATION

United States of America c/o Office of the U.S. Trustee                                      SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                             THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
Middle District of Florida                                                                   ACCORDANCE WITH THE POLICY PROVISIONS.
                                                                                                                                                          30 days
RE: Universal Towers Construction Case Number 6:20-bk-03799-KSJ                             AUTHORIZED REPRESENTATIVE


801 N. Florida Ave. Suite 555 Tampa, FL 33602
          .
                                                                                            © 1988-2009 ACORD CORPORATION. All rights reserved.
ACORD 25 (2009/09)                                   The ACORD name and logo are registered marks of ACORD
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 24 of 25
Case 6:20-bk-03799-KSJ   Doc 196   Filed 11/25/20   Page 25 of 25
